
* ANDERSON, L,
delivered the opinion of the court.
The court is of opinion that the Corporation courts, in cities or towns containing a population of five thousand, have the same jurisdiction, bjr act of assembly approved April 2, 1870, to try offences committed within their respective limits, that either the Circuit courts or the County courts then had to try offences within the counties in which respectively they had jurisdiction. (Acts of Assembly 1869-’70, ch. 38, 6 and 7, p. 36.) And that the act approved April 2, 1873, “to regulate and define the jurisdiction of the County and Circuit courts,” &amp;c., which, in effect, takes from the County courts their jurisdiction for the trial of presentments, informations’ and indictments, which was conferred by section 4 of the aforesaid act of 1870, and invests the same exclusively in the Circuit 'courts, does not divest the said Corporation courts of any part of their aforesaid jurisdiction; the term “exclusive” being used in said act with reference to the County courts, as appears evident from the title and scope of the act. And, consequently, that there is no error in the judgment of the Corporation court of Alexandria, sustaining the demurrer to the plea of the plaintiff in error to its jurisdiction.
The court is further of opinion that as it *641is peculiarly the province of the jury to weigh the testimony and to decide upon the facts of the case; and it not appearing from the evidence certified by the court, that the verdict of the jury is plainly contrary to the evidence, the court below did not err in overruling the motion for a new trial. The court is therefore of opinion that the judgment must be affirmed.
Judgment affirmed.
